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GARY BLANKINSHIP
P. O. BOX 751717
HOUSTON, TEXAS 77275-1717

281-924-3631
15 November 2022
Honorable Thomas F. Hogan

Senior United States District Judge for the District of Columbia

Re: Bonnie Nichols, Third Party Custodian

Judge Hogan,

My name is Gary Blankinship and | have been requested to provide a character
reference to the court for Bonnie Rae Nichols. Let me start by saying that | have known Bonnie
her entire life and can assure you that her morals, character, and devotion to the rule of law are
beyond reproach. | have watched her grow from a baby to a successful mother and business
woman. Bonnie is my second cousin being named after my mother and father. Our family roots
are deeply entrenched in law enforcement dating back to the manhunt for notorious criminals
Bonnie and Clyde, as well as the Federal Prohibition Task Force for the Eastern District of Texas.
Bonnie’s Grandfather was a graduate of Houston Police Academy Class #1 and served as a
Sergeant of Police in Houston, Texas for over 30 years until his honorable retirement. The list of
law enforcement officers in our family is too long to list, but never has a member of our family
been disgraced, dishonored, or ask to leave a law enforcement agency. | personally served in
law enforcement for over forty years having retired honorably on December 31, 2019. At the
time of my retirement, | was serving as the Presidentially appointed United States Marshal in
and for the Southern District of the Great State of Texas. | served proudly under President
Obama, as well as President Trump. Having been responsible for the safety and security of over
80 members of the Federal Judiciary, | realize how busy you can be, but if you or any member
of your staff would like to speak with me concerning this matter | may be reached by phone
24/7 at 281-924-3631 or by email at garyblank@aol.com.

Thank you,

Ln LA:

Blankinship, Unit

States Marshal (Retired)

